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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION
                                                  §
 AGIS SOFTWARE DEVELOPMENT LLC,                   §    Case No.
                                                  §
                              Plaintiff,          §    JURY TRIAL DEMANDED
                                                  §
                      v.                          §
                                                  §
 HMD GLOBAL, HMD GLOBAL OY,                       §
 and HMD AMERICA, INC.,                           §
                                                  §
                              Defendants.         §
                                                  §

              PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, AGIS Software Development LLC (“AGIS Software” or “Plaintiff”) files this

Complaint against Defendants HMD Global (“HMD Global”), HMD Global OY (“HMD Global

OY”), and HMD America, Inc. (“HMD America”) (collectively, “HMD” or “Defendants”) for

patent infringement under 35 U.S.C. § 271 and alleges as follows:

                                            THE PARTIES

       1.      Plaintiff AGIS Software is a limited liability company, organized and existing

under the laws of the State of Texas, and maintains its principal place of business at 100 W.

Houston Street, Marshall, Texas 75670. AGIS Software is the owner of all right, title, and interest

in and to U.S. Patent Nos. 8,213,970, 9,445,251, 9,467,838, 9,749,829, and 9,820,123 (the

“Patents-in-Suit”).

       2.      On information and belief, Defendant HMD Global is a company organized and

existing under the laws of Finland, with its principal place of business located at Bertel Jungin

aukio 9, 02600, Espoo, Finland. On information and belief, HMD Global may be served pursuant

to the provisions of the Hague Convention. HMD Global is a leading manufacturer and seller of
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smartphones in the world and throughout the United States. Upon information and belief, HMD

Global does business in Texas, directly or through intermediaries, and offers its products and/or

services, including those accused herein of infringement, to customers and potential customers

located in Texas, including in the Judicial District of the Eastern District of Texas.

       3.      On information and belief, Defendant HMD Global OY is a company organized

and existing under the laws of Finland, with its principal place of business located at Bertel Jungin

aukio 9, 02600, Espoo, Finland. On information and belief, HMD Global may be served pursuant

to the provisions of the Hague Convention. HMD Global OY is a leading manufacturer and seller

of smartphones in the world and throughout the United States. Upon information and belief, HMD

Global OY does business in Texas, directly or through intermediaries, and offers its products

and/or services, including those accused herein of infringement, to customers and potential

customers located in Texas, including in the Judicial District of the Eastern District of Texas.

       4.      On information and belief, Defendant HMD America is a corporation organized

under the laws of Florida, with its principal place of business at 1200 Brickell Avenue, Suite 510,

Miami, Florida 33131. HMD America is a leading manufacturer and seller of smartphones in the

world and throughout the United States. HMD is registered to transact business in Texas. HMD

America may be served with process through its registered agent InCorp Services, Inc., 815 Brazos

Street, Suite 500, Austin, Texas 78701.

       5.      Defendants have authorized sellers and sales representatives that offer and sell

products pertinent to this Complaint through the State of Texas, including in this Judicial District,

and to consumers throughout this Judicial District, such as: Best Buy, 422 West TX-281 Loop,

Suite 100, Longview, Texas 75605; AT&T Store, 1712 East Grand Avenue, Marshall, Texas

75670; Sprint Store, 1806 East End Boulevard North, Suite 100, Marshall, Texas 75670; T-Mobile,




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900 East End Boulevard North, Suite 100, Marshall, Texas 75670; Verizon authorized retailers,

including Russell Cellular, 1111 East Grand Avenue, Marshall, Texas 75670; Victra, 1006 East

End Boulevard North, Marshall, Texas 75670; and Cricket Wireless authorized retailer, 120 East

End Boulevard South, Marshall, Texas 75670.

                                JURISDICTION AND VENUE

       6.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 1, et seq. This Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331, 1332, 1338, and 1367.

       7.      This Court has specific and personal jurisdiction over Defendants consistent with

the requirements of the Due Process Clause of the United States Constitution and the Texas Long

Arm Statute. On information and belief, Defendants have sufficient minimum contacts with the

forum because Defendants transact substantial business in the State of Texas and in this Judicial

District. On information and belief, Defendants have also purposefully and voluntarily placed

their products, including infringing products, into the stream of commerce with the expectation

that they will be purchased and used by customers located in this State. Further, Defendants have,

directly or through subsidiaries or intermediaries, committed and continue to commit acts of patent

infringement in the State of Texas and in this Judicial District as alleged in this Complaint, as

alleged more particularly below.

       8.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and 1400(b)

because Defendants are subject to personal jurisdiction in this Judicial District, have committed

acts of patent infringement in this Judicial District, and have regular and established places of

business in this Judicial District. Each Defendant, through its own acts and/or through the acts of

others, makes, uses, sells, and/or offers to sell infringing products within this Judicial District,




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regularly does and solicits business in this Judicial District, and has the requisite minimum contacts

with this Judicial District, such that this venue is a fair and reasonable one. Further, venue is

proper in this Judicial District because HMD Global and HMD Global OY are foreign corporations

formed under the laws of Finland with principal places of business in Finland. Further, upon

information and belief, Defendants have admitted or not contested proper venue in this Judicial

District in other patent infringement actions.

                                       PATENTS-IN-SUIT

       9.      On July 3, 2012, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,213,970 (the “’970 Patent”) entitled “Method of Utilizing Forced Alerts

for Interactive Remote Communications.” On September 1, 2021, the United States Patent and

Trademark Office issued an Inter Partes Review Certificate for the ’970 Patent cancelling claims

1 and 3-9. On December 9, 2021, the United States Patent and Trademark Office issued an

Ex Parte Reexamination Certificate for the ’970 Patent determining claims 2 and 10 (as amended)

and claims 11-13 to be valid and patentable. A true and correct copy of the ’970 Patent, which

includes the September 1, 2021 Inter Partes Review Certificate and the December 9, 2021

Ex Parte           Reexamination             Certificate,          is          available           at:

https://ppubs.uspto.gov/pubwebapp/external.html?q=8,213,970.pn.&db=USPAT.

       10.     On September 13, 2016, the United States and Trademark Office duly and legally

issued U.S. Patent No. 9,445,251 (the “’251 Patent”) entitled “Method to Provide Ad Hoc and

Password Protected Digital and Voice Networks.” On June 8, 2021, the United States Patent and

Trademark Office issued an Ex Parte Reexamination Certificate of the ’251 Patent determining

claims 1-35 to be valid and patentable. A true and correct copy of the ’251 Patent, which includes




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the   June     8,   2-21     Ex    Parte     Reexamination      Certificate,   is    available    at:

https://ppubs.uspto.gov/pubwebapp/external.html?q=9,445,251.pn.&db=USPAT.

       11.     On October 11, 2016, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,467,838 (the “’838 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” On May 27, 2021, the United States Patent

and Trademark Office issued an Ex Parte Reexamination Certificate for the ’838 Patent confirming

the validity and patentability of claims 1-84. A true and correct copy of the ’838 Patent, which

includes the May 27, 2021 Ex Parte Reexamination Certificate, is available at:

https://ppubs.uspto.gov/pubwebapp/external.html?q=9,467,838.pn.&db=USPAT.

       12.     On August 29, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,749,829 (the “’829 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” On August 16, 2021, the United States

Patent and Trademark Office issued an Ex Parte Reexamination Certificate for the ’829 Patent

confirming the validity and patentability of claims 1-68. A true and correct copy of the ’829 Patent,

which includes the August 16, 2021 Ex Parte Reexamination Certificate, is available at:

https://ppubs.uspto.gov/pubwebapp/external.html?q=9,749,829.pn.&db=USPAT.

       13.     On November 14, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,820,123 (the “’123 Patent”) entitled “Method to Provide Ad Hoc

and Password Protected Digital and Voice Networks.” On September 24, 2021, the United States

Patent and Trademark Office issued an Ex Parte Reexamination Certificate for the ’123 Patent

confirming the validity and patentability of claims 1-48. A true and correct copy of the ’123 Patent,

which includes the September 24, 2021 Ex Parte Reexamination Certificate, is available at:

https://ppubs.uspto.gov/pubwebapp/external.html?q=9,820,123.pn.&db=USPAT.




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           14.   AGIS Software is the sole and exclusive owner of all rights, title, and interest in the

Patents-in-Suit, and holds the exclusive right to take all actions necessary to enforce its rights to

the Patents-in-Suit, including the filing of this patent infringement lawsuit. AGIS Software also

has the right to recover all damages for past, present, and future infringement of the Patents-in-

Suit and to seek injunctive relief as appropriate under the law.

                                    FACTUAL ALLEGATIONS

           15.   Malcolm K. “Cap” Beyer, Jr., a graduate of the United States Naval Academy and

a former U.S. Marine, is the CEO of AGIS Software and a named inventor of the AGIS Software

patent portfolio. Mr. Beyer founded Advanced Ground Information Systems, Inc. (“AGIS, Inc.”)

shortly after the September 11, 2001 terrorist attacks because he believed that many first responder

and civilian lives could have been saved through the implementation of a better communication

system. He envisioned and developed a new communication system that would use integrated

software and hardware components on mobile devices to give users situational awareness superior

to systems provided by conventional military and first responder radio systems.

           16.   AGIS, Inc. developed prototypes that matured into its LifeRing system. LifeRing

provides first responders, law enforcement, and military personnel with what is essentially a

tactical operations center built into hand-held mobile devices.           Using GPS-based location

technology and existing or special-purpose cellular communication networks, LifeRing users can

exchange location, heading, speed, and other information with other members of a group, view

each other’s locations on maps and satellite images, and rapidly communicate and coordinate their

efforts.

           17.   AGIS Software licenses its patent portfolio, including the ’970, ’838, ’251, ’829,

and ’123 Patents, to AGIS, Inc. AGIS, Inc. has marked its products accordingly. AGIS Software




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and all previous assignees of the Patents-in-Suit have complied with the requirements of 35 U.S.C.

§ 287(a).

       18.     Defendants have infringed and are continuing to infringe the Patents-in-Suit by

making, using, selling, offering to sell, distributing, exporting from, and/or importing, and by

actively inducing others to make, use, sell, offer to sell, distribute, export from, and/or import

products that infringe the Patents-in-Suit. Such products include at least the following HMD

mobile devices: Nokia 3, Nokia 5, Nokia 6, Nokia 7, Nokia 8, Nokia 9, Nokia 6.1 Plus, Nokia 7

Plus, Nokia 7.1 Plus, Nokia 7.1, Nokia 5.1 Plus, Nokia 3.1 Plus, Nokia 8 Sirocco, Nokia 3.1, Nokia

5.1, Nokia 9 PureView, Nokia C21 Plus, Nokia C21, Nokia C2 2nd Edition, Nokia G11, Nokia

G21, Nokia X100, Nokia G300, Nokia T20, Nokia C100, Nokia C200, Nokia XR20, Nokia C30,

Nokia C1 2nd Edition, Nokia C20 Plus, Nokia C01 Plus, Nokia X20, Nokia X10, Nokia G20,

Nokia G21, Nokia G10, Nokia C20, Nokia C10, Nokia 1.4, Nokia 5.4, Nokia C1 Plus, Nokia 3.4,

Nokia 2.4, Nokia C3, Nokia C5 Endi, Nokia C2 Tennen, Nokia C2 Tava, Nokia X100 5G, Nokia

G300 5G, Nokia G50, Nokia G20, Nokia G10, Nokia 8 V 5G UW, Nokia 2V Tella, Nokia T20,

Nokia X50, Nokia 10, Nokia 8.3 5G, Nokia GR20 5G, Nokia G50, Nokia G11, and Nokia G21

(collectively, the “Accused Products”). 1 The Accused Products infringe each of the Asserted

Patents.

       19.     The Accused Products include functionalities that allow users to form and/or join

networks or groups, share and view locations with other users, display symbols corresponding to

locations (including locations of other users) on a map, and communicate with other users via text,

voice, and multimedia-based communication.          Additionally, the Accused Products include



1
 See, e.g., https://www.hmdglobal.com/en-US/business-devices;
https://www.nokia.com/phones/en_us/smartphones;
https://www.nokia.com/phones/en_int/nokia-t-20?sku=F20RID1A001.


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functionalities to allow users to form and/or join networks or groups. Additionally, the users may

form groups that include their own devices in order to track their own lost or stolen devices, as

shown below; to send and receive communications from their own lost or stolen Accused Products;

and to remotely control the lost or stolen Accused Products. The Accused Products include the

functionalities to display map information, including symbols corresponding with users, entities,

and locations. Additionally, the Accused Products include functionalities to form groups that

include their own devices in order to track, remotely monitor and control, and/or communicate

with other users’ devices.        The Accused Products include functionalities to enable

communications, such as voice calls between users. The Accused Products practice the claims of

the Asserted Patents to improve user experiences and to improve Defendants’ position in the

market.




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                                               COUNT I
                                    (Infringement of the ’970 Patent)

        20.         Paragraphs 1 through 19 are incorporated herein by reference as if fully set forth in

their entireties.

        21.         AGIS Software has not licensed or otherwise authorized Defendants to make, use,

offer for sale, sell, distribute, export from, or import any Accused Products and/or products that

embody the inventions of the ’970 Patent.

        22.         Defendants infringe, contribute to the infringement of, and/or induce infringement

of the ’970 Patent by making, using, selling, offering for sale, distributing, exporting from, and/or

importing into the United States products and/or methods covered by one or more claims of the

’970 Patent including, but not limited to, the Accused Products.

        23.         Defendants have and continue to directly infringe at least claim 10 of the ’970

Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, distributing, exporting from, and/or importing into the United States the Accused Products

without authority and in violation of 35 U.S.C. § 271(a).

        24.         Defendants have and continue to indirectly infringe at least claim 10 of the ’970

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either literally

or under the doctrine of equivalents, by making, using, selling, offering for sale, distributing,

exporting from, and/or importing into the United States the Accused Products and by instructing

users of the Accused Products to perform methods claimed in the ’970 Patent. For example,

Defendants, with knowledge that the Accused Products infringe the ’970 Patent at least as of the

date of this Complaint, actively, knowingly, and intentionally induced, and continue to knowingly

and intentionally induce direct infringement of the ’970 Patent in violation of 35 U.S.C. § 271(b).




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Alternatively, Defendants believed there was a high probability that others would infringe the ’970

Patent but remained willfully blind to the infringing nature of others’ actions.

          25.      For example, Defendants have indirectly infringed and continue to indirectly

infringe at least claim 10 of the ’970 Patent in the United States because Defendants’ customers

use the Accused Products, including at least the Find My Device (formerly known as Android

Device Manager) Apps and/or services or the Accused Products with the Find My Device Apps

and/or services, alone or in conjunction with additional Accused Products, in accordance with

Defendants’ instructions and thereby directly infringe at least claim 10 of the ’970 Patent in

violation of 35 U.S.C. § 271. Defendants directly and/or indirectly intentionally instruct their

customers to infringe through training videos, demonstrations, brochures, installations and/or user

guides,         such   as    those    located     at    one    or     more    of    the     following:

https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide;

https://www.nokia.com/phones/en_us/support/user-guides;             and   Defendants’     agents   and

representatives located within this Judicial District. Defendants are thereby liable for infringement

of the ’970 Patent under 35 U.S.C. § 271(b). Alternatively, Defendants believed there was a high

probability that others would infringe the ’970 Patent but remained willfully blind to the infringing

nature of others’ actions.

          26.      For example, Defendants directly infringe and/or indirectly infringe by instructing

their customers to infringe by performing claim 10 of the ’970 Patent, including: a method of

receiving, acknowledging and responding to a forced message alert from a sender PDA/cell phone

to a recipient PDA/cell phone, wherein the receipt, acknowledgment, and response to said forced

message alert is forced by a forced message alert software application program, said method

comprising the steps of: receiving an electronically transmitted electronic message; identifying




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said electronic message as a forced message alert, wherein said forced message alert comprises a

voice or text message and a forced message alert application software packet, which triggers the

activation of the forced message alert software application program within the recipient PDA/cell

phone; transmitting an automatic acknowledgment of receipt to the sender PDA/cell phone, which

triggers the forced message alert software application program to take control of the recipient

PDA/cell phone and shows the content of the text message and a required response list on the

display recipient PDA/cell phone or to repeat audibly the content of the voice message on the

speakers of the recipient PDA/cell phone and show the required response list on the display

recipient PDA/cell phone; and transmitting a selected required response from the response list in

order to allow the message required response list to be cleared from the recipient’s cell phone

display, whether said selected response is a chosen option from the response list, causing the forced

message alert software to release control of the recipient PDA/cell phone and stop showing the

content of the text message and a response list on the display recipient PDA/cell phone and/or stop

repeating the content of the voice message on the speakers of the recipient PDA/cell phone;

displaying the response received from the PDA cell phone that transmitted the response on the

sender of the forced alert PDA/cell phone; and providing a list of the recipient PDA/cell phones

that have automatically acknowledged receipt of a forced alert message and their response to the

forced alert message; and displaying a geographical map with georeferenced entities on the display

of the sender PDA/cell phone; obtaining location and status data associated with the recipient

PDA/cellphone; and presenting a recipient symbol on the geographical map corresponding to a

correct geographical location of the recipient PDA/cellphone based on at least the location data.

For example, the Accused Products include features, as shown below.




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    https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide


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          27.   AGIS Software has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’970 Patent in an amount to be proved at trial.

          28.   AGIS Software has suffered, and will continue to suffer, irreparable harm as a result

of Defendants’ infringement of the ’970 Patent for which there is no adequate remedy at law unless

Defendants’ infringement is enjoined by this Court.




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    Id.


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                                              COUNT II
                                    (Infringement of the ’251 Patent)

        29.         Paragraphs 1 through 19 are incorporated herein by reference as if fully set forth in

their entireties.

        30.         AGIS Software has not licensed or otherwise authorized Defendants to make, use,

offer for sale, sell, distribute, export from, or import any Accused Products and/or products that

embody the inventions of the ’251 Patent.

        31.         Defendants infringe, contribute to the infringement of, and/or induce infringement

of the ’251 Patent by making, using, selling, offering for sale, distributing, exporting from, and/or

importing into the United States products and/or methods covered by one or more claims of the

’251 Patent including, but not limited to, the Accused Products.

        32.         Defendants have and continue to directly infringe at least claim 24 of the ’251

Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, distributing, exporting from, and/or importing into the United States the Accused Products

without authority and in violation of 35 U.S.C. § 271(a).

        33.         Defendants have and continue to indirectly infringe at least claim 24 of the ’251

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either literally

or under the doctrine of equivalents, by making, using, selling, offering for sale, distributing,

exporting from, and/or importing into the United States the Accused Products and by instructing

users of the Accused Products to perform methods claimed in the ’251 Patent. For example,

Defendants, with knowledge that the Accused Products infringe the ’251 Patent at least as of the

date of this Complaint, actively, knowingly, and intentionally induced, and continue to actively,

knowingly, and intentionally induce direct infringement of the ’251 Patent.               Alternatively,




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Defendants believed there was a high probability that others would infringe the ’251 Patent but

remained willfully blind to the infringing nature of others’ actions.

       34.     For example, Defendants have indirectly infringed and continue to indirectly

infringe at least claim 24 of the ’251 Patent in the United States because Defendants’ customers

use the Accused Products, including at least Google Maps Apps and/or services or the Accused

Products with the Google Maps Apps and/or services, alone or in conjunction with additional

Accused Products, in accordance with Defendants’ instructions and thereby directly infringe at

least claim 24 of the ’251 Patent in violation of 35 U.S.C. § 271. Defendants directly and/or

indirectly intentionally instruct their customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following: https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide;

https://www.nokia.com/phones/en_us/support/user-guides;         and     Defendants’    agents    and

representatives located within this Judicial District. Defendants are thereby liable for infringement

of the ’251 Patent under 35 U.S.C. § 271(b). Alternatively, Defendants believed there was a high

probability that others would infringe the ’251 Patent but remained willfully blind to the infringing

nature of others’ actions.

       35.     For example, Defendants’ Accused Products are pre-installed with at least the

Google Maps App which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps App which is integrated with

Messages, which is also pre-installed on the Accused Products.

       36.     For example, the exemplary Accused Products allows users to establish groups and

to exchange messages via interaction with servers which provide the Google Maps service, among




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other relevant services. The exemplary Accused Products further allows users to retrieve map

information from multiple sources including street-view maps.

       37.    The exemplary Accused Products are programmed to receive messages from other

devices where those messages relate to joining groups, as depicted below (e.g.,

https://support.google.com/maps/answer/7326816?visit_id=638038217506681650-

271792540&hl=en&rd=1;

https://support.google.com/contacts/answer/30970?hl=en&visit_id=638038217507566921-

2877008583&rd=1).




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       38.       The exemplary Accused Products are further programmed to facilitate participation

in the group by communicating with a server and sending to and receiving location information,

as   depicted      below     (e.g.,   https://developers.google.com/maps/documentation/android-

sdk/location).




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       39.      This location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices.         These symbols are positioned on the map at positions

corresponding    to   the   locations    of   the    other   devices,   as   depicted   below   (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




       40.      The exemplary Accused Products are programmed to permit users to request and

display additional maps by, for example, moving the map screen and/or by selecting satellite image

maps. The exemplary Accused Products are further programmed to permit interaction with the


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display where a user may select one or more symbols and where the exemplary Accused Products

further permit data to be sent to other devices based on that interaction.

        41.         AGIS Software has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’251 Patent in an amount to be proved at trial.

        42.         AGIS Software has suffered, and will continue to suffer, irreparable harm as a result

of Defendants’ infringement of the ’251 Patent for which there is no adequate remedy at law unless

Defendants’ infringement is enjoined by this Court.

                                              COUNT III
                                    (Infringement of the ’838 Patent)

        43.         Paragraphs 1 through 19 are incorporated herein by reference as if fully set forth in

their entireties.

        44.         AGIS Software has not licensed or otherwise authorized Defendants to make, use,

offer for sale, sell, distribute, export from, or import any Accused Products and/or products that

embody the inventions of the ’838 Patent.

        45.         Defendants infringe, contribute to the infringement of, and/or induce infringement

of the ’838 Patent by making, using, selling, offering for sale, distributing, exporting from, and/or

importing into the United States products and/or methods covered by one or more claims of the

’838 Patent including, but not limited to, the Accused Products.

        46.         Defendants have and continue to directly infringe at least claim 54 of the ’838

Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, distributing, exporting from, and/or importing into the United States the Accused Products

without authority and in violation of 35 U.S.C. § 271(a).

        47.         Defendants have and continue to indirectly infringe at least claim 54 of the ’838

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either literally



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or under the doctrine of equivalents, by making, using, selling, offering for sale, distributing,

exporting from, and/or importing into the United States the Accused Products and by instructing

users of the Accused Products to perform methods claimed in the ’838 Patent. For example,

Defendants, with knowledge that the Accused Products infringe the ’838 Patent at least as of the

date of this Complaint, actively, knowingly, and intentionally induced, and continue to actively,

knowingly, and intentionally induce direct infringement of the ’838 Patent.           Alternatively,

Defendants believed there was a high probability that others would infringe the ’838 Patent but

remained willfully blind to the infringing nature of others’ actions.

       48.     For example, Defendants have indirectly infringed and continue to indirectly

infringe at least claim 54 of the ’838 Patent in the United States because Defendants’ customers

use the Accused Products, including at least the Google Maps Apps and/or services or the Accused

Products with the Google Maps Apps and/or services, alone or in conjunction with additional

Accused Products, in accordance with Defendants’ instructions and thereby directly infringe at

least one claim of the ’838 Patent in violation of 35 U.S.C. § 271. Defendants directly and/or

indirectly intentionally instruct their customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following: https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide;

https://www.nokia.com/phones/en_us/support/user-guides;         and     Defendants’    agents    and

representatives located within this Judicial District. Defendants are thereby liable for infringement

of the ’838 Patent under 35 U.S.C. § 271(b). Alternatively, Defendants believed there was a high

probability that others would infringe the ’838 Patent but remained willfully blind to the infringing

nature of others’ actions.




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       49.     For example, Defendants’ Accused Products are pre-installed with at least the

Google Maps App which allows users to share their locations and view other users’ locations on a

map and to communicate with those users via the Google Maps App (as shown below) which is

integrated with Messages and which is also pre-installed on the Accused Products.




       50.     Additionally, the exemplary Accused Products allows users to establish groups and

to exchange messages via interaction with servers which provide the Google Maps service, among

other relevant services. The exemplary Accused Products further allows users to retrieve map

information from multiple sources, including street-view maps, as well as satellite renderings.

       51.     The exemplary Accused Products are programmed to form and join groups by

transmitting                                    messages                                     (e.g.,

https://support.google.com/maps/answer/7326816?visit_id=638038217506681650-

271792540&hl=en&rd=1;

https://support.google.com/contacts/answer/30970?hl=en&visit_id=638038217507566921-

2877008583&rd=1).




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       52.     The exemplary Accused Products are further programmed to facilitate participation

in the groups by communicating with one or more servers and sending to and receiving location

information,            as           depicted            below             (see,           e.g.,

https://developers.google.com/maps/documentation/android-sdk/location).




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       53.    The location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. The symbols are positioned on the map at positions corresponding

to    the    locations    of     the    other        devices   as   depicted    below        (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




       54.    The exemplary Accused Products are further programmed to permit users to request

and display additional maps from additional servers by, for example, moving the map screen

and/or by selecting satellite images or other types of maps. The exemplary Accused Products are


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further programmed to permit interaction with the display where a user may select one or more

symbols and where the exemplary Accused Products further permit data to be sent to other devices

based on that interaction.

        55.         AGIS Software has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’838 Patent in an amount to be proved at trial.

        56.         AGIS Software has suffered, and will continue to suffer, irreparable harm as a result

of Defendants’ infringement of the ’838 Patent for which there is no adequate remedy at law unless

Defendants’ infringement is enjoined by this Court.

                                              COUNT IV
                                    (Infringement of the ’829 Patent)

        57.         Paragraphs 1 through 19 are incorporated herein by reference as if fully set forth in

their entireties.

        58.         AGIS Software has not licensed or otherwise authorized Defendants to make, use,

offer for sale, sell, distribute, export from, or import any products that embody the inventions of

the ’829 Patent.

        59.         Defendants have and continue to directly infringe at least claim 34 of the ’829

Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, distributing, exporting from, and/or importing into the United States the Accused Products

without authority and in violation of 35 U.S.C. § 271(a).

        60.         Defendants have and continue to indirectly infringe at least claim 34 of the ’829

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either literally

or under the doctrine of equivalents, by making, using, selling, offering for sale, distributing,

exporting from, and/or importing into the United States the infringing Accused Products and by

instructing users of the Accused Products to perform at least the method of claim 34 in the ’829



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Patent. For example, Defendants, with knowledge that the Accused Products infringes the ’829

Patent at least as of the date of this Complaint, actively, knowingly, and intentionally induced, and

continue to actively, knowingly, and intentionally induce direct infringement of at least claim 34

of the ’829 Patent in violation of 35 U.S.C. § 271(b). Alternatively, Defendants believed there

was a high probability that others would infringe the ’829 Patent but remained willfully blind to

the infringing nature of others’ actions.

       61.     For example, Defendants have indirectly infringed and continue to indirectly

infringe at least claim 34 of the ’829 Patent in the United States because Defendants’ customers

use the Accused Products, including at least the Google Maps Apps and/or services or the Accused

Products with the Google Maps Apps and/or services, alone or in conjunction with additional

Accused Products, in accordance with Defendants’ instructions and thereby directly infringe at

least one claim of the ’829 Patent in violation of 35 U.S.C. § 271. Defendants directly and/or

indirectly intentionally instruct their customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following: https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide;

https://www.nokia.com/phones/en_us/support/user-guides;         and    Defendants’     agents    and

representatives located within this Judicial District. Defendants are thereby liable for infringement

of the ’829 Patent under 35 U.S.C. § 271(b). Alternatively, Defendants believed there was a high

probability that others would infringe the ’829 Patent but remained willfully blind to the infringing

nature of others’ actions.

       62.     For example, Defendants directly infringe and/or indirectly infringe by instructing

their customers to infringe by a system comprising: one or more server devices programmed to

perform operations comprising: forwarding, to a first device, a request to join a group, wherein the




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request is received from a second device and the group includes the second device; based on

acceptance of the request by the first device, joining the first device to the group, wherein joining

the first device to the group comprises authorizing the first device to repeatedly share device

location information and repeatedly engage in remote control operations with each device included

in the group; receiving a first message comprising a request for a first updated location of the first

device, wherein the first message is sent by the second device and includes data identifying the

first device; in response to receiving the first message, sending, to the first device, a second

message comprising a request for the first updated location of the first device; after sending the

second message, receiving a response to the second message, the response including first location

information comprising the first updated location of the first device; sending, to the second device,

the first location information and georeferenced map data, wherein the second device is configured

to present, via a display of the second device, a georeferenced map based on the georeferenced

map data and a symbol corresponding to the first device, wherein the symbol is positioned on the

georeferenced map at a first position corresponding to the first updated location of the first device,

and wherein the georeferenced map data relate positions on the georeferenced map to spatial

coordinates; after sending the first location information and the georeferenced map data to the

second device, receiving second location information comprising a second updated location of the

first device and sending the second location information to the second device, wherein the second

device is configured to use the server-provided georeferenced map data and the second location

information to reposition the symbol on the georeferenced map at a second position corresponding

to the second updated location of the first device; receiving a third message related to remotely

controlling the first device to perform an action, wherein the third message is sent by the second

device; and after receiving the third message, sending, to the first device, a fourth message related




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to remotely controlling the first device to perform the action, wherein the first device is configured

to perform the action based on receiving the fourth message. For example, the Accused Products

include features as shown below.

       63.     For example, Defendants’ Accused Products allow users to share their locations

and view other users’ locations on a map and to communicate with those users via the Google

Maps Apps, and related services and/or servers (as shown below) which is integrated with

Messages and which is also pre-installed on the Accused Products.




       64.     Additionally, the exemplary Accused Products allows users to establish groups and

to exchange messages via interaction with servers which provide the Google Maps servers, among

other relevant services. The exemplary Accused Products further allows users to retrieve map

information from multiple sources, including street-view maps, as well as satellite renderings.

       65.     The exemplary Accused Products are programmed to form and join groups by

transmitting                                     messages                                       (e.g.,

https://support.google.com/maps/answer/7326816?visit_id=638038217506681650-

271792540&hl=en&rd=1;




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https://support.google.com/contacts/answer/30970?hl=en&visit_id=638038217507566921-

2877008583&rd=1).




       66.     The exemplary Accused Products are further programmed to facilitate participation

in the groups by communicating with one or more servers and sending to and receiving location

information,            as           depicted            below             (see,           e.g.,

https://developers.google.com/maps/documentation/android-sdk/location).




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       67.    The location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. The symbols are positioned on the map at positions corresponding

to    the    locations    of     the    other        devices,   as   depicted    below       (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




       68.    The exemplary Accused Products are further programmed to permit users to request

and display additional maps by, for example, moving the map screen and/or by selecting satellite

image maps. The exemplary Accused Products are further programmed to permit interaction with


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the display where a user may select one or more symbols and where the exemplary Accused

Products further permit data to be sent to other devices based on that interaction.

        69.         AGIS Software has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’829 Patent in an amount to be proved at trial.

        70.         AGIS Software has suffered, and will continue to suffer, irreparable harm as a result

of Defendants’ infringement of the ’829 Patent for which there is no adequate remedy at law unless

Defendants’ infringement is enjoined by this Court.

                                              COUNT V
                                    (Infringement of the ’123 Patent)

        71.         Paragraphs 1 through 19 are incorporated herein by reference as if fully set forth in

their entireties.

        72.         AGIS Software has not licensed or otherwise authorized Defendants to make, use,

offer for sale, sell, distribute, export from, or import any products that embody the inventions of

the ’123 Patent.

        73.         Defendants have and continue to directly infringe at least claim 23 of the ’123

Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, distributing, exporting from, and/or importing into the United States the Accused Products

without authority and in violation of 35 U.S.C. § 271(a).

        74.         Defendants have and continue to indirectly infringe at least claim 23 of the ’123

Patent by actively, knowingly, and intentionally inducing others to directly infringe, either literally

or under the doctrine of equivalents, by making, using, selling, offering for sale, distributing,

exporting from, and/or importing into the United States the infringing Accused Products and by

instructing users of the Accused Products to perform at least the method of claim 23 in the ’123

Patent. For example, Defendants, with knowledge that the Accused Products infringe the ’123



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Patent at least as of the date of this Complaint, actively, knowingly, and intentionally induced, and

continue to actively, knowingly, and intentionally induce direct infringement of at least claim 23

of the ’123 Patent in violation of 35 U.S.C. § 271(b). Alternatively, Defendants believed there

was a high probability that others would infringe the ’123 Patent but remained willfully blind to

the infringing nature of others’ actions.

       75.     For example, Defendants have indirectly infringed and continue to indirectly

infringe at least claim 23 of the ’123 Patent in the United States because Defendants’ customers

use the Accused Products, including at least the Google Maps Apps and/or services or the Accused

Products with the Google Maps Apps and/or services, alone or in conjunction with additional

Accused Products, in accordance with Defendants’ instructions and thereby directly infringe at

least one claim of the ’123 Patent in violation of 35 U.S.C. § 271. Defendants directly and/or

indirectly intentionally instruct their customers to infringe through training videos,

demonstrations, brochures, installations and/or user guides, such as those located at one or more

of the following: https://www.nokia.com/phones/en_int/support/api/pdf/nokia-g50-user-guide;

https://www.nokia.com/phones/en_us/support/user-guides;         and    Defendants’     agents    and

representatives located within this Judicial District. Defendants are thereby liable for infringement

of the ’838 Patent under 35 U.S.C. § 271(b).

       76.     Alternatively, Defendants believed there was a high probability that others would

infringe the ’123 Patent but remained willfully blind to the infringing nature of others’ actions.

For example, Defendants directly infringe and/or indirectly infringe by instructing their customers

to infringe by a system comprising: a first device programmed to perform operations comprising:

receiving a message sent by a second device, wherein the message relates to joining a group; based

on receipt of the message sent by the second device, sending first location information to a first




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server and receiving second location information from the first server, the first location

information comprising a location of the first device, the second location information comprising

one or more locations of one or more respective second devices included in the group; sending,

from the first device to a second server, a request for georeferenced map data; receiving, from the

second server, the georeferenced map data; presenting, via an interactive display of the first device,

a georeferenced map and one or more user-selectable symbols corresponding to one or more of the

second devices, wherein the symbols are positioned on the georeferenced map at respective

positions corresponding to the locations of the second devices represented by the symbols, and

wherein the georeferenced map data relate positions on the georeferenced map to spatial

coordinates; and identifying user interaction with the interactive display selecting a particular user-

selectable symbol corresponding to a particular second device and user interaction with the display

specifying an action and, based thereon, using an Internet Protocol to send data to the particular

second device, wherein identifying the user interaction selecting the particular user-selectable

symbol comprises: detecting user selection of a portion of the interactive display corresponding to

a position on the georeferenced map, and identifying the particular user-selectable symbol based,

at least in part, on coordinates of the selected position, comprising: searching a set of symbols for

a symbol located nearest to the coordinates of the selected position, wherein the set of symbols

includes the user-selectable symbols corresponding to the second devices in the group, and

wherein data associated with the set of symbols include coordinates of portions of the display

corresponding to the symbols in the set, and based on a result of searching the set of symbols,

identifying the particular user-selectable symbol as the symbol located nearest to the coordinates

of the selected position, wherein the particular user-selectable symbol corresponds to the particular

second device. For example, the Accused Products include features, as shown below.




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       77.     For example, Defendants’ Accused Products are pre-installed with at least the

Google Maps App which allows users to share their locations and view others’ locations on a map

and to communicate with those users via the Google Maps App (as shown below) which is

integrated with Messages and which is also pre-installed on the Accused Products.




       78.     Additionally, the exemplary Accused Products allows users to establish groups and

to exchange messages via interaction with servers which provide the Google Maps servers, among

other relevant services. The exemplary Accused Products further allows users to retrieve map

information from multiple sources including street-view maps, as well as satellite renderings.

       79.     The exemplary Accused Products are programmed to form and join groups by

transmitting                                   messages                                      (e.g.,

https://support.google.com/maps/answer/7326816?visit_id=638038217506681650-

271792540&hl=en&rd=1;

https://support.google.com/contacts/answer/30970?hl=en&visit_id=638038217507566921-

2877008583&rd=1).




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       80.     The exemplary Accused Products are further programmed to facilitate participation

in the groups by communicating with one or more servers and sending to and receiving location

information,            as           depicted            below             (see,           e.g.,

https://developers.google.com/maps/documentation/android-sdk/location).




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       81.    The location information is presented on interactive displays on the exemplary

Accused Products which include interactive maps and a plurality of user selectable symbols

corresponding to other devices. The symbols are positioned on the map at positions corresponding

to    the    locations    of     the    other        devices,   as   depicted    below       (e.g.,

https://arstechnica.com/gadgets/2017/03/location-sharing-finally-returns-to-google-maps/).




       82.    The exemplary Accused Products are further programmed to permit users to request

and display additional maps from additional servers by, for example, moving the map screen

and/or by selecting satellite images or other types of maps. The exemplary Accused Products are


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further programmed to permit interaction with the display where a user may select one or more

symbols and where the exemplary Accused Products further permit data to be sent to other devices

based on that interaction.

       83.     AGIS Software has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’123 Patent in an amount to be proved at trial.

       84.     AGIS Software has suffered, and will continue to suffer, irreparable harm as a result

of Defendants’ infringement of the ’123 Patent for which there is no adequate remedy at law unless

Defendants’ infringement is enjoined by this Court.

                                    DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury for all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, AGIS Software prays for relief against Defendants as follows:

       a.      Entry of judgment declaring that Defendants have directly and/or indirectly

infringed one or more claims of each of the Patents-in-Suit;

       b.      Entry of judgment declaring that Defendants’ infringement of the Patents-in-Suit

have been willful and deliberate;

       c.      An order pursuant to 35 U.S.C. § 283 permanently enjoining Defendants, their

officers, agents, servants, employees, attorneys, and those persons in active concert or

participation with them, from further acts of infringement of the Patents-in-Suit;

       d.      An order awarding damages sufficient to compensate AGIS Software for

Defendants’ infringement of the Patents-in-Suit, but in no event less than a reasonable royalty,

together with interest and costs;




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       e.      An order awarding AGIS Software treble damages under 35 U.S.C. § 284 as a

result of Defendants’ willful and deliberate infringement of the Patents-in-Suit;

       f.      Entry of judgment declaring that this case is exceptional and awarding AGIS

Software its costs and reasonable attorney fees under 35 U.S.C. § 285; and

       g.      Such other and further relief as the Court deems just and proper.

Dated: November18, 2022                              Respectfully submitted,

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                                                     ATTORNEYS FOR PLAINTIFF
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